                    Case 3:18-cv-06830-RS Document 131-37 Filed 04/28/21 Page 1 of 3




S   u   bjec   t                            H   old C onf ca              11   wl D r B ates   a    nd   D enise




S ta    rt                                  512018 930 AM


E   nd                                      512018                  10 00      AM

S   how Time As                             B   usy




R ec     u   rren    c   e                  none



0   rg a n    izer                          Kelly                Naomi   ADM

Required              Attendees                             Kelly      Naomi     ADM


Categories                                  Green Category



Ref Email




Hello        Denise and Asha



Naomi          is    available          as follows for the                      call

        M       Tuesday                May          I       at    1000   am
        M       Thursday May                            3    at   230    pm

Please         let    me know               which date and                     time works      If   none of these times works   I   will   propose some other

times



Thank         you
Lynn



Lynn         Khaw CPPO CPPB                         CPM
Executive            Assistant         to   the         City      Administrator

Office       of the       City    Administrator

City     and County             of San Francisco

City     Hall       RM 362         1   Dr Carlton                  B   Goodlett Place

San     Francisco            CA        94102

lynn khaw sfgov org                             I
                                                        Tel 415 554 6296               I
                                                                                           Fax415 554 4849


From          denise bradley                        mailtovdenisebradley                       yahoo com
Sent Wednesday                          April           25 2018          12 07 PM
To Khaw                  Lynn     ADM                                                          Asha Smith




                                                                                                                                              CCSF-SHIFERAW-015488
              Case 3:18-cv-06830-RS Document 131-37 Filed 04/28/21 Page 2 of 3



Cc Dr        Ernest     Bates                                              Kelly        Naomi   ADM
Subject       Re    Call       with Naomi         Kelly




Lynn


Thank         you       again         for    your     call      yesterday               to   schedule             a   conference          call    with    Naomi


As    per     my        voicemail            messages                 I
                                                                          am     sending         this       email and             copying        Dr Bates
assistant Asha                      Smith    to    help        find       dates         that   work         for       both   of   them           While    my
schedule           is     more        flexible        I    am    traveling               part of next                 week    but    it   is   more important
that    Naomi and                    Dr     Bates     speak even                   if    I   can't   be      on the call             But       of   course     I   will


join    the     call      if    I   can

Thank         you       again


Kind    regards
Denise


Denise         Bradley-Tyson


Be Inspired

InspiredLuxe com
  1    4 15         3 5   1 9 09       8




On Tuesday              April       24 2018 6 3924             PM PDT            Denise Bradley Tyson
wrote




Got your voicemail


Can you send some                    dates   and times that might work for                      you     I   will      coordinate   with her      office   and Asha


Thanks


Denise Bradley-Tyson


Be Inspired

InspiredLuxe com
1     415     351-9098

     Denise_lnspired


 On     Apr 24 2018 at 604 P                      M   Denise Bradley Tyson                                                                       wrote


  Can    I   confirm       call     from    9 30am        to   10am       with   Naomi on Monday                   430

 Thanks




                                                                                                                                                  CCSF-SHIFERAW-015489
        Case 3:18-cv-06830-RS Document 131-37 Filed 04/28/21 Page 3 of 3




Denise Bradley-Tyson


Be   Inspired

InspiredLuxe com
1 415     351-9098

Denise_lnspired
